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                                   EMPLOYEE AGREEMENT



            This Employee Agreement ("Agreement") is entered into by and between
    CRUBIN LLC, a Florida limited liability company (the "Employer") on behalf of itself,
    its subsidiaries and other corporate and company affiliates (collectively referred to herein
    as, the "Employer Group"), and Jesus Alex Escoriaza (the "Employee") (the Employer
    and the Employee are collectively referred to herein as the "Parties") as of October 19,
    2016 (the "Effective Date").


           In consideration of the Employee's employment by the Employer and offering
    other benefits associated with such position as of October 19, 2016, which the Employee
    acknowledges to be good and valuable consideration for his obligations hereunder, the
    Employer and the Employee hereby agree as follows:


     1.     Confidential Information.     The Employee understands and acknowledges that
    during the course of employment by the Employer, he will have access to and learn about
    Confidential Information, as defined below.


                                                             t i al
            (a)     Confidential Information Defined
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                                                       d fidential Information" includes,
                     For purposes of this Agreerri&^^Con
                                                     ﬁ
                                                  on oknown
    but is not limited to, all information not generally
                                                C          n to the public, in spoken, printed,
    electronic or any other form or medium,
                                           t l        in directly or indirectly to: business
                                               y , Dplans,
                                                    relating

                                         ic Bill
    processes, practices, method^ppolicies
                                     t r                    publications, documents, research,
                                    S techniques, agreements, contracts, termsknow-how,
    operations, services, strategtfs;                                           of agreements,
                                                                                          trade
    transactions, potential transactions, negotiations, pending negotiations,
    secrets, computer programs, computer software, applications, operating systems, software
    design, web design, databases, manuals, records, systems, supplier information, vendor
    information, financial information, results, accounting information, accounting records,
    legal information, marketing information, advertising information, pricing information,
    credit information, design information, staffing information, personnel information,
    employee lists, supplier lists, vendor lists, developments, reports, internal controls,
    security procedures, market studies, sales information, revenue, costs, notes,
    communications, algorithms, product plans, designs, styles, models, ideas, audiovisual
    programs, inventions, unpublished patent applications, customer information, customer
     lists, client information, client lists, distributor lists, and buyer lists of the Employer
     Group or its businesses or any existing or prospective customer, supplier, investor or
     other associated third party, or of any other person or entity that has entrusted information
    to the Employer in confidence.

                   The Employee understands that the above list is not exhaustive, and that
     Confidential Information also includes other information that is marked or otherwise




                                                                                         COMPOSITE
                                                                                           EXHIBIT A
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     identified as confidential or proprietary, or that would otherwise appear to a reasonable
    person to be confidential or proprietary in the context and circumstances in which the
    information is known or used.

                      The Employee understands and agrees that Confidential Information
    includes information developed by him in the course of his employment by the Employer
    as if the Employer furnished the same Confidential Information to the Employee in the
    first instance.   Confidential Information shall not include information that is generally
    available to and known by the public at the time of disclosure to the Employee, provided
    that such disclosure is through no direct or indirect fault of the Employee or person(s)
    acting on the Employee's behalf.


            (b)       Employer Creation and Use of Confidential Information

                      The Employee understands and acknowledges that the Employer Group
    has invested, and continues to invest, substantial time, money and specialized knowledge
    into developing its resources, creating a customer base, generating customer and potential
    customer lists, training its employees, and improving its offerings in the field of ticket
    brokerage and sport entertainment services.         The Employee understands and
    acknowledges that as a result of these efforts, Employer Group has created, and continues

                                                                    al
    to use and create Confidential Information.         This Chjifidential Information provides

                                                              n t i
    Employer Group with a competitive advantage over others in the marketplace.
                                                            e
           (c)    Disclosure and Use Restrict};
                                                      n ﬁd
                                               C  o covenants:
                                                           oo n
                  The Employee agrefls^in^
                                           l y          i n            (i) to treat all Confidential

                                      i c
    Information as strictly confidential; t (ii) ln<l Dto directly or indirectly disclose, publish,
    communicate or make available
                                S
                                    r
                                   t Com^entialBi Information, or allow it to be disclosed,
    published, communicated or made available, in whole or part, to any entity or person
    whatsoever (including other employees of the Employer Group) not having a need to
    know and authority to know and use the Confidential Information in connection with the
    business of the Employer Group and, in any event, not to anyone outside of the direct
    employ of the Employer Group except as required in the performance of the Employee's
    authorized employment duties to the Employer or with the prior consent of the President,
    acting on behalf of the Employer Group in each instance (and then, such disclosure shall
    be made only within the limits and to the extent of such duties or consent); and (iii) not to
    access or use any Confidential Information, and not to copy any documents, records,
    files, media or other resources containing any Confidential Information, or remove any
    such documents, records, files, media or other resources from the premises or control of
    the Employer Group, except as required in the performance of the Employee's authorized
    employment duties to the Employer or with the prior consent of President acting on
    behalf of the Employer Group in each instance (and then, such disclosure shall be made
    only within the limits and to the extent of such duties or consent). Nothing herein shall
    be construed to prevent disclosure of Confidential Information as may be required by
    applicable law or regulation, or pursuant to the valid order of a court of competent




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    jurisdiction or an authorized government agency, provided that the disclosure does not
    exceed the extent of disclosure required by such law, regulation or order. The Employee
    shall promptly provide written notice of any such order to the President.

                    The Employee understands and acknowledges that his obligations under
    this Agreement with regard to any particular Confidential Information shall commence
    immediately upon the Employee first having access to such Confidential Information
    (whether before or after he begins employment by the Employer) and shall continue
    during and after his employment by the Employer until such time as such Confidential
    Information has become public knowledge other than as a result of the Employee's
    breach of this Agreement or breach by those acting in concert with the Employee or on
    the Employee's behalf.

    2.      Restrictive Covenants.


            (a)     Acknowledgment

                   The Employee understands that the nature of Employee's position gives
    him access to and knowledge of Confidential Information and places him in a position of
    trust and confidence with the Employer Group.        The Employee understands and

                                                                     al
    acknowledges that the intellectual services he proves to the Employer Group are
                                                                 t i
    unique, special or extraordinary because of his strong financial background, technical
                                                                n relationships with potential clients
    expertise, general knowledge of sporting even^lmd         e
    and vendors related to Employer's busines^jpj       n ﬁd
                                                    o Ooand    n
                   The Employee further Cerstands         i n        acknowledges that the Employer
                                           t l y        D
                                     r i c
    Group's ability to reserve thesfe^l^^i^Wcfusive
                                                  i l l         knowledge and use of the Employer
                                S  t
    Group is of great competitive importaiSee    B and commercial value to the Employer Group,
    and that improper use or disclosure by the Employee is likely to result in unfair or
    unlawful competitive activity.


            (b)     Non-competition

                   Because of Employer Group's legitimate business interest as described
    herein and the good and valuable consideration offered to the Employee, during the term
    of Employee's employment and for the eighteen (18) months, to run consecutively,
    beginning on the last day of the Employee's employment with the Employer, for any
    reason or no reason and whether employment is terminated at the option of the Employee
    or the Employer Group, the Employee agrees and covenants not to engage in Prohibited
    Activity in any geographic area in which the Employer Group distributes its products or
    provides its services.

                    For purposes of this non-compete clause, "Prohibited Activity" is activity
    in which the Employee contributes his knowledge, directly or indirectly, in whole or in
    part, as an employee, employer, owner, operator, manager, advisor, consultant, agent,
    partner, director, stockholder, officer, volunteer, intern or any other similar capacity to an




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    entity engaged in the same or similar business as the Employer Group, including those
    engaged in the business of ticket brokerage and sport entertainment services (a
    "Competing Business").      Prohibited Activity also includes activity that may require or
    inevitably require disclosure of trade secrets, proprietary information or Confidential
    Information.

                   Nothing herein shall prohibit Employee from purchasing or owning less
    than five percent (5%) of the publicly traded securities of any corporation, provided that
    such ownership represents a passive investment and that the Employee is not a
    controlling person of, or a member of a group that controls, such corporation.

                   This Section does not, in any way, restrict or impede the Employee from
    exercising protected rights to the extent that such rights cannot be waived by agreement
    or from complying with any applicable law or regulation or a valid order of a court of
    competent jurisdiction    or an   authorized       government   agency,   provided   that   such
    compliance does not exceed that required by the law, regulation or order. The Employee
    shall promptly provide written notice of any such order to the President.


           (c)     Non-solicitation of Employees

                     The Employee agrees and covenants not to directly or indirectly solicit,

                                                           i al
    hire, recruit, attempt to hire or recruit, or induce tl^ponination of employment of any
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                                                        n
    employee of the Employer Group during eighteen (18) months, to run consecutively,
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                                                    ﬁd
    beginning on the last day of the Employee's employment
                                                  n
                                                               with the Employer.

                                              C o on
           (d)
                                         t l y Din
                   Non-solicitation of Customersjij^^

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                   The EmploysfrCbnders
                                              Bill and acknowledges that because of the
    Employee's experience witrramdS relationship to the Employer Group, he will have access
    to and learn about much or all of the Employer Group's customer information.
    "Customer Information" includes, but is not limited to, names, phone numbers,
    addresses, e-mail addresses, order history, order preferences, chain of command, pricing
    information and other information identifying facts and circumstances specific to the
    customer and relevant to sales and services.

                   The Employee understands and acknowledges that loss of this customer
    relationship and/or goodwill will cause significant and irreparable harm.

                   The Employee agrees and covenants, during eighteen (18) months, to run
    consecutively, beginning on the last day of the Employee's employment with the
    Employer, not to directly or indirectly solicit, contact (including but not limited to e-mail,
    regular mail, express mail, telephone, fax, and instant message), attempt to contact or
    meet with the Employer's current, former or prospective customers for purposes of
    offering or accepting goods or services similar to or competitive with those offered by the
    Employer.




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    3.      Non-disparagement.   The Employee agrees and covenants that he will not at any
    time make, publish or communicate to any person or entity or in any public forum any
    defamatory or disparaging remarks, comments or statements concerning the Employer
    Group or its businesses, or any of its employees, officers, and existing and prospective
    customers, suppliers, investors and other associated third parties.


            This Section does not, in any way, restrict or impede the Employee from
    exercising protected rights to the extent that such rights cannot be waived by agreement
    or from complying with any applicable law or regulation or a valid order of a court of
    competent jurisdiction or an authorized government agency, provided that such
    compliance does not exceed that required by the law, regulation or order. The Employee
    shall promptly provide written notice of any such order to the President.


    4.     Acknowledgement. The Employee acknowledges and agrees that the services to
    be rendered by him to the Employer are of a special and unique character; that the
    Employee will obtain knowledge and skill relevant to the Employer's industry, methods
    of doing business and marketing strategies by virtue of the Employee's employment; and
    that the restrictive covenants and other terms and condition of this Agreement are
    reasonable and reasonably necessary to protect the legitimate business interest of the
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     Employer Group.
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             The Employee further acknowledges that the amount of his compensation reflects,
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     in part, his obligations and the Employer's righthander this Agreement; that he has no
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     expectation of any additional co:
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                                         Jjslmon^royalties or other payment of any kind not
                                              y
     otherwise referenced herein in
                                    r i c            l l
                                              :fet^^H«rewit
                                                   i          h; that he will not be subject to undue
     hardship by reason of his ft 11 compliance B           with the terms and conditions of this
                                 S
     Agreement or the Employer's enforcement thereof; and that this Agreement is not a
     contract of employment and shall not be construed as a commitment by either of the
     Parties to continue an employment relationship for any certain period of time.


           Nothing in this Agreement shall be construed to in any way terminate, supersede,
     undermine or otherwise modify the "at-will" status of the employment relationship
     between the Employer and the Employee, pursuant to which either the Employer or the
     Employee may terminate the employment relationship at any time, with or without cause,
     with or without notice.

     5.     Remedies. In the event of a breach or threatened breach by the Employee of any
     of the provisions of this Agreement, the Employee hereby consents and agrees that the
     Employer shall be entitled to seek, in addition to other available remedies, a temporary or
     permanent injunction or other equitable relief against such breach or threatened breach
     from any court of competent jurisdiction, without the necessity of showing any actual
     damages or that money damages would not afford an adequate remedy, and without the
     necessity of posting any bond or other security. The aforementioned equitable relief shall




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    be in addition to, not in lieu of, legal remedies, monetary damages or other available
    forms of relief.


    6.      Successors and Assigns.


            (a)        Assignment by the Employer

                 To the extent permitted by state law, the Employer may assign this
    Agreement to any subsidiary or corporate affiliate in the Employer Group or otherwise,
    or to   any successor or assign           (whether direct or indirect,     by purchase,     merger,
    consolidation or otherwise) to all or substantially all of the business or assets of the
    Employer.    This Agreement shall inure to the benefit of the Employer Group and
    permitted successors and assigns.


            (b)        No Assignment by the Employee

                  The Employee may not assign this Agreement or any part hereof. Any
    purported assignment by the Employee shall be null and void from the initial date of
    purported assignment.


    7.      Work Product. Employee acknowledges that all work product created by

                                                                 i al
    Employee related to the Employer's business or contemplated business, including but not
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                                                          e  n
    limited to, any original works of authorship, inventions, discoveries, proposals and ideas,
                                                      ﬁd a "work made for hire" as defined
    whether alone or jointly with others, shall be deemed
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                                                 o on in accordance therewith. To the
    by the United States Copyright Act an^^^rotected
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    extent that such work is not, by opgm&on
                                         t   y oflw,D  ina work made for hire, Employee herby
    transfers and assigns to Employeric
                                    t r         ill right, title and interest therein.
                                        all his/her
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    8.
                                % S           O

            Warranty. Employee represents and warrants that he is not a party to any non
    compete restrictive covenant or related contractual limitation that would interfere with or
    hinder his ability to undertake the obligations and expectations of employment with the
    Employer.


    9.      Governing Law: Jurisdiction and Venue. This Agreement, for all purposes, shall
    be construed in accordance with the laws of Florida without regard to conflicts-of-law
    principles. Any action or proceeding by either of the Parties to enforce this Agreement
    shall be brought only in any state or federal court located in the state of Florida, county of
    Palm Beach. The Parties hereby irrevocably submit to the exclusive jurisdiction of such
    courts and waive the defense of inconvenient forum to the maintenance of any such
    action or proceeding in such venue.


     10.    Entire Agreement.          Unless specifically provided herein, this Agreement contains
    all the understandings and representations between the Employee and the Employer
    Group    pertaining     to   the     subject   matter   hereof   and   supersedes   all   prior   and




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    contemporaneous understandings,          agreements,   representations and warranties,   both
    written and oral, with respect to such subject matter.


     11.    Modification and Waiver.        No provision of this Agreement may be amended or
    modified unless such amendment or modification is agreed to in writing and signed by
    the Employee and by the President. No waiver by either of the Parties of any breach by
    the other party hereto of any condition or provision of this Agreement to be performed by
    the other party hereto shall be deemed a waiver of any similar or dissimilar provision or
    condition at the same or any prior or subsequent time, nor shall the failure of or delay by
    either of the Parties in exercising any right, power or privilege hereunder operate as a
    waiver thereof to preclude any other or further exercise thereof or the exercise of any
    other such right, power or privilege.


     12.    Severability. Should any provision of this Agreement be held by a court of
    competent jurisdiction to be enforceable only if modified, or if any portion of this
    Agreement shall be held as unenforceable and thus stricken, such holding shall not affect
    the validity of the remainder of this Agreement, the balance of which shall continue to be
    binding upon the Parties with any such modification to become a part hereof and treated
    as though originally set forth in this Agreement.


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            The Parties further agree that any such court is expressly authorized to modify any
                                                         e n
    such unenforceable provision of this Agreement in lieu of severing such unenforceable

                                                   n ﬁd
    provision from this Agreement in its entirety, ^whether by rewriting the offending
                                             C o provision,
                                                         o n adding additional language to
    provision, deleting any or all of the offending
                                                     i n
                                           ly gasifications
    this Agreement or by making sucjrpSer
                                     i c t     l l D            as it deems warranted to carry out
    the intent and agreement       tr Parties
                                        .




                                             Bi as embodied herein to the maximum extent
    permitted by law.
                                S
            The Parties expressly agree that this Agreement as so modified by the court shall
    be binding upon and enforceable against each of them. In any event, should one or more
    of the provisions of this Agreement be held to be invalid, illegal or unenforceable in any
    respect, such invalidity, illegality or unenforceability shall not affect any other provisions
    hereof, and if such provision or provisions are not modified as provided above, this
    Agreement shall be construed as if such invalid, illegal or unenforceable provisions had
    not been set forth herein.


     13.    Captions.   Captions and headings of the sections and paragraphs of this
    Agreement are intended solely for convenience and no provision of this Agreement is to
    be construed by reference to the caption or heading of any section or paragraph.


     14.    Counterparts.  This Agreement may be executed in counterparts, each of which
     shall be deemed an original, but all of which taken together shall constitute one and the
     same instrument.




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     15.    Tolling. Should the Employee violate any of the terms of the restrictive covenant
    obligations articulated herein, the obligation at issue will run from the first date on which
    the Employee ceases to be in violation of such obligation.


     16.   Attorneys' Fees. Should the Employee breach any of the terms of the restrictive
    covenant obligations articulated herein, to the extent authorized by state law, the
    Employee will be responsible for payment of all reasonable attorneys' fees and costs that
    Employer incurred in the course of enforcing the terms of the Agreement, including
    demonstrating the existence of a breach and any other contract enforcement efforts.


     17.   Notice.   If and when Employer's employment with Employer Group terminates,
    whether voluntarily or involuntarily, Employee agrees to provide to any subsequent
    employer a copy of this Agreement. In addition, Employee authorizes Employer Group
    to provide a copy of this Agreement to third parties, including but not limited to,
    Employee's subsequent, anticipated or possible future employer.




                                [SIGNATURE PAGE FOLLOWS]

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    IN WITNESS WHEREOF, the Parties have executed this Agreement as of the
    Effective Date above.
                                                 CRUBIN, LLC,
                                                 a Florida Limited Liability Company



                                                 Byi
                                                 Name: COLE RUBIN
                                                 Title: Manager


    EMPLOYEE


    Signature:
                 Je/us Alex Escoriaza




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                            EMPLOYEE NON-COMPETE AGREEMENT



                 This Employee Non-compete Agreement ("Agreement") is entered into by and
       between CRUBIN, INC., a Florida corporation (the "Employer") on behalf of itself, its
       subsidiaries and other corporate and company affiliates (collectively referred to herein as,
       the "Employer Group"), and ALEX ESCORIAZA (the "Employee") (the Employer and
       the Employee are collectively referred to herein as the "Parties") as of November [6_,
       2012 (the "Effective Date").


                 In consideration of the Employee's employment by the Employer and a promotion
       to the new position of Director of Pricing of the Employer and offering other benefits
       associated with such position on November             2012, which the Employee acknowledges
       to be good and valuable consideration for his obligations hereunder, the Employer and
       the Employee hereby agree as follows:


       1.     Confidential Information.      The Employee understands and acknowledges that
       during the course of employment by the Employer, he will have access to and learn about
       Confidential Information, as defined below.

                                                               t i al
              (a)      Confidential Information Define*
                                                            e n
                                                     n
                       For purposes of this Agreement, fid "Confidential Information" includes,
                                                 C o oknown
      but is not limited to, all information not generally   n to the public, in spoken, printed,
                                                        i n
                                               ly l Drelating
      electronic or any other form or medium,
                                           c t                  directly or indirectly to: business
      processes, practices, methods,i policies,
                                       t r       Bil plans, publications, documents, research,
                                     S techniques, agreements, contracts, terms of agreements,
      operations, services, strategies,
      transactions, potential transactions, negotiations, pending negotiations, know-how, trade
       secrets, computer programs, computer software, applications, operating systems, software
      design, web design, databases, manuals, records, systems, supplier information, vendor
      information, financial information, results, accounting information, accounting records,
      legal information, marketing information, advertising information, pricing information,
      credit information, design information, staffing information, personnel information,
      employee lists, supplier lists, vendor lists, developments, reports, internal controls,
      security     procedures,   market   studies,   sales    information,   revenue,   costs,   notes,
      communications, algorithms, product plans, designs, styles, models, ideas, audiovisual
      programs, inventions, unpublished patent applications, customer information, customer
      lists, client information, client lists, distributor lists, and buyer lists of the Employer
      Group or its businesses or any existing or prospective customer, supplier, investor or
      other associated third party, or of any other person or entity that has entrusted information
      to the Employer in confidence.
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                     The Employee understands that the above list is not exhaustive, and that
       Confidential Information also includes other information that is marked or otherwise
       identified as confidential or proprietary, or that would otherwise appear to a reasonable
       person to be confidential or proprietary in the context and circumstances in which the
       information is known or used.

                         The Employee understands and agrees that Confidential Information
       includes information developed by him in the course of his employment by the Employer
       as if the Employer furnished the same Confidential Information to the Employee in the
       first instance. Confidential Information shall not include information that is generally
       available to and known by the public at the time of disclosure to the Employee, provided
       that such disclosure is through no direct or indirect fault of the Employee or person(s)
       acting on the Employee's behalf.


               (b)       Employer Creation and Use of Confidential Information

                      The Employee understands and acknowledges that the Employer Group
       has invested, and continues to invest, substantial time, money and specialized knowledge
       into developing its resources, creating a customer base, generating customer and potential
       customer lists, training its employees, and improving its offerings in the field of ticket
       brokerage   and sport entertainment services.       The Employee understands and

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       acknowledges that as a result of these efforts, Employer Group has created, and continues
                                                                  i
       to use and create Confidential Information.              t
                                                              n„ Confidential Information provides
       Employer Group with a competitive advantage -wer     e
                                                          d others in the marketplace.
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                                                C  on on
              (c)    Disclosure and Use Restrictinw®™^

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                                          s l y      D   in
                                       r c (ii)
                     The Employee iagree^^icF      l covenants: (i) to treat all Confidential
                                                 ilnot
                                  S  t
       Information as strictly confidential;    B       to directly or indirectly disclose, publish,
       communicate or make available Confidential Information, or allow it to be disclosed,
       published, communicated or made available, in whole or part, to any entity or person
       whatsoever (including other employees of the Employer Group) not having a need to
       know and authority to know and use the Confidential Information in connection with the
      business of the Employer Group and, in any event, not to anyone outside of the direct
      employ of the Employer Group except as required in the performance of the Employee's
      authorized employment duties to the Employer or with the prior consent of the President,
      acting on behalf of the Employer Group in each instance (and then, such disclosure shall
      be made only within the limits and to the extent of such duties or consent); and (iii) not to
      access or use any Confidential Information, and not to copy any documents, records,
      files, media or other resources containing any Confidential Information, or remove any
      such documents, records, files, media or other resources from the premises or control of
      the Employer Group, except as required in the performance of the Employee's authorized
      employment duties to the Employer or with the prior consent of President acting on
      behalf of the Employer Group in each instance (and then, such disclosure shall be made
      only within the limits and to the extent of such duties or consent).    Nothing herein shall




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       be construed to prevent disclosure of Confidential Information as may be required by
       applicable law or regulation, or pursuant to the valid order of a court of competent
       jurisdiction or an authorized government agency, provided that the disclosure does not
       exceed the extent of disclosure required by such law, regulation or order. The Employee
       shall promptly provide written notice of any such order to the President.

                       The Employee understands and acknowledges that his obligations under
       this Agreement with regard to any particular Confidential Information shall commence
       immediately upon the Employee first having access to such Confidential Information
       (whether before or after he begins employment by the Employer) and shall continue
       during and after his employment by the Employer until such time as such Confidential
       Information has become public knowledge other than as a result of the Employee's
       breach of this Agreement or breach by those acting in concert with the Employee or on
       the Employee's behalf.


       2.      Restrictive Covenants.


               (a)     Acknowledgment

                       The Employee understands that the nature of Employee's position gives
       him access to and knowledge of Confidential Information and places him in a position of


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       trust and confidence with the Employer Group^ <s|The Employee understands                     and
       acknowledges that the intellectual services he provides
                                                              e nt oftopricing
                                                                             the Employer Group are

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       unique, special or extraordinary because of his knowledge                   tickets for admission

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       to sporting events, general knowledge of sporting^ents,          and relationships  with potential
       clients and vendors related to Employer's
                                          JSS l y C business.
                                                           i no
                                         i
                      The Employee further
                                       r   c       i l l D and acknowledges that the Employer
                                             t understands
                                   St for the
       Group's ability to reserve these           B exclusive knowledge and use of the Employer
       Group is of great competitive importance and commercial value to the Employer Group,
       and that improper use or disclosure by the Employee is likely to result in unfair or
       unlawful competitive activity.


               (b)     Non-competition

                       Because of Employer Group's legitimate business interest as described
       herein and the good and valuable consideration offered to the Employee, during the term
       of Employee's employment and for the eighteen (18) months , to run consecutively,
       beginning on the last day of the Employee's employment with the Employer, for any
       reason or no reason and whether employment is terminated at the option of the Employee
       or the Employer Group, the Employee agrees and covenants not to engage in Prohibited
       Activity in any geographic area in which the Employer Group distributes its products or
      provides its services.

                      For purposes of this non-compete clause, "Prohibited Activity" is activity
      in which the Employee contributes his knowledge, directly or indirectly, in whole or in




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       part, as an employee, employer, owner, operator, manager, advisor, consultant, agent,
       partner, director, stockholder, officer, volunteer, intern or any other similar capacity to an
       entity engaged in the same or similar business as the Employer Group, including those
       engaged in the business of ticket brokerage and sport entertainment services (a
       "Competing Business").      Prohibited Activity also includes activity that may require or
       inevitably require disclosure of trade secrets, proprietary information or Confidential
       Information.

                       Nothing herein shall prohibit Employee from purchasing or owning less
       than five percent (5%) of the publicly traded securities of any corporation, provided that
       such ownership represents a passive investment and that the Employee is not a
       controlling person of, or a member of a group that controls, such corporation.

                       This Section does not, in any way, restrict or impede the Employee from
       exercising protected rights to the extent that such rights cannot be waived by agreement
       or from complying with any applicable law or regulation or a valid order of a court of
       competent jurisdiction    or   an   authorized       government   agency,   provided   that   such
       compliance does not exceed that required by the law, regulation or order. The Employee
       shall promptly provide written notice of any such order to the President.


               (c)    Non-solicitation of Employees

                      The Employee agrees and covenai             al
                                                                 .A
                                                             titermination
                                                                  to directly or indirectly solicit,

                                                         e
       hire, recruit, attempt to hire or recruit, or inducene               of employment of any
                                                       d
                                                     fi (18) months, to run consecutively,
                                                  onemployment
       employee of the Employer Group during eighteen
                                                           n with the Employer.
                                                C
       beginning on the last day of the Employee's
                                                       n o
                                          c t ly l Di
              (d)    Non-solicitation of
                                      t ri Bil
                                           Customers

                      The EmployeeS understands and acknowledges that because of the
       Employee's experience with and relationship to the Employer Group, he will have access
       to and learn about much or all of the Employer Group's                  customer information.
       "Customer Information" includes, but is not limited to, names, phone numbers,
       addresses, e-mail addresses, order history, order preferences, chain of command, pricing
       information and other information identifying facts and circumstances specific to the
       customer and relevant to sales and services.

                      The Employee understands and acknowledges that loss of this customer
       relationship and/or goodwill will cause significant and irreparable harm.

                      The Employee agrees and covenants, during eighteen (18) months, to run
       consecutively, beginning on the last day of the Employee's employment with the
       Employer, not to directly or indirectly solicit, contact (including but not limited to e-mail,
       regular mail, express mail, telephone, fax, and instant message), attempt to contact or
       meet with the Employer's current, former or prospective customers for purposes of
       offering or accepting goods or services similar to or competitive with those offered by the
       Employer.




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           3.    Non-disparagement. The Employee agree
                                                         s and covenants that he will not at any
           time make, publish or communicate to any
                                                    person or entity or in any public forum any
           defamatory or disparaging remarks, comm
                                                   ents or statements concerning the Empl
                                                                                            oyer
          Group or its businesses, or any of its emplo
                                                        yees, officers, and existing and prospective
          customers, suppliers, investors and other
                                                    associated third parties.

                  This Section does not, in any way, restri
                                                                 ct or impede the Employee from
          exercising protected rights to the extent
                                                    that such rights cannot be waived by agree
                                                                                               ment
          or from complying with any applicable
                                                    law or regulation or a valid order of a court
                                                                                                  of
          competent jurisdiction or an authorized
                                                         government agency, provided that such
          compliance does not exceed that required
                                                     by the law, regulation or order. The Empl
                                                                                               oyee
          shall promptly provide written notice of any
                                                       such order to the President.


          4.     Acknowledgement.  The Employee acknowledges and agrees that
                                                                                   the services to
        be rendered by him to the Employer are
                                                    of a special and unique character; that
                                                                                               the
       Employee will obtain knowledge and skill
                                                   relevant to the Employer's industry, metho
                                                                                                ds
       of doing business and marketing strategies
                                                  by virtue of the Employee's employment;
                                                                                              and
       that the restrictive covenants and other
                                                  terms and condition of this Agreement
                                                                                               are
       reasonable and reasonably necessary to prote
                                                       ct the legitimate business interest of the
       Employer Group.
                                                                    l
               The Employee further acknowledges that         tia
                                                            nI#
                                                        de
                                                        the amount of his compensation reflects,
       in part, his obligations and the Employer's
                                                     fi
                                                   rights under this Agreement; that he has
      expectation of any additional compensgtjE^,nro\«d$s^s                                  no

                                             C  o on or other payment of any kind not
      otherwise referenced herein in conation

                                        t l y herewD  inith; that he will not be subject to undue
                                      ic ceme ilntl there
      hardship by reason of his
                                                       with the terms and conditions of this
      Agreement or the Employer'strenfor
      contract of                S           B            of; and that this Agreement is not a
                   employment and shall not be construed
                                                            as a commitment by either of the
      Parties to continue an employment relatio
                                               nship for any certain period of time.


                Nothing in this Agreement shall be const
                                                         rued to in any way terminate, supersede,
      undermine or otherwise modify the "at-w
                                              ill" status of the employment relationship
      between the Employer and the Employee,
                                              pursuant to which either the Employer
                                                                                       or the
      Employee may terminate the employmen
                                           t relationship at any time, with or without
                                                                                       cause,
      with or without notice.


     5.      Remedies. In the event of a breach or threat
                                                             ened breach by the Employee of any
     of the provisions of this Agreement, the
                                                 Employee hereby consents and agrees that
                                                                                              the
     Employer shall be entitled to seek, in additi
                                                  on to other available remedies, a temporary
                                                                                               or
     permanent injunction or other equitable relief
                                                        against such breach or threatened breach
     from any court of competent jurisdiction
                                                , without the necessity of showing any
                                                                                           actual
     damages or that money damages would not
                                                     afford an adequate remedy, and without the
     necessity of posting any bond or other secur
                                                   ity. The aforementioned equitable relief
                                                                                            shall




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            be in addition to, not in lieu of, legal remed
                                                           ies, monetary damages or other available
            forms of relief.


           6.      Successors and Assigns.


                  (a)     Assignment by the Employer

                          To the extent permitted by state law, the
                                                                         Employer may assign this
           Agreement to any subsidiary or corporate affilia
                                                            te in the Employer Group or otherwise,
           or to any successor or assign (whether
                                                        direct or indirect, by purchase, merger,
           consolidation or otherwise) to all or substa
                                                        ntially all of the business or assets of the
           Employer.    This Agreement shall inure to the benefit
                                                                       of the Employer Group and
        permitted successors and assigns.


                  (b)    No Assignment by the Employee

                      The Employee may not assign this Agreement
                                                                  or any part hereof. Any
       purported assignment by the Employee shall
                                                  be null and void from the initial date of
       purported assignment.


       7.    Warranty. Employee represents and warrants
                                                                that he is not a party to any non
       compete restrictive covenant or related contra
                                                      ctual limitation that would interfere with or
       hinder his ability to undertake the obligations
                                                                  t i al
                                                       and expectations of employment with
                                                                                           the
       Employer.
                                                              e n
                                                       n fi.d This Agreement, for
       8.     Governing Law; Jurisdiction and Venue

                                                 C  o^f Florido n                   all purposes, shall
      be construed in accordance with tiM Iffws
                                              lyb>^eul D  i n   a without regard to conflicts-of-law
      principles. Any action or proceeding?
                                         c  t          her of the Parties to enforce this Agreement
                                     t
      shall be brought only in any state
                                                B ill court located in the state of Florida, county of
                                       ri or feipra
      Palm Beach. The Parties herebS y irrevocably submit to the exclusive jurisdiction of such
      courts and waive the defense of inconvenie
                                                 nt forum to the maintenance of any such
      action or proceeding in such venue.


      9.        Entire Agreement.   Unless specifically provided herein, this Agree
                                                                                    ment contains
      all the understandings and representations
                                                      between the Employee and the Employer
      Group pertaining to the subject matter
                                                        hereof and supersedes all prior and
      contemporaneous understandings, agreements,
                                                           representations and warranties, both
      written and oral, with respect to such subjec
                                                    t matter.

      10.    Modification and Waiver. No provision of this
                                                                  Agreement may be amended or
     modified unless such amendment or modificatio
                                                         n is agreed to in writing and signed by
     the Employee and by the President. No waive
                                                     r by either of the Parties of any breach by
     the other party hereto of any condition or provis
                                                       ion of this Agreement to be performed by
     the other party hereto shall be deemed a waive
                                                     r of any similar or dissimilar provision or
     condition at the same or any prior or subsequent
                                                         time, nor shall the failure of or delay by




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        either of the Parties in exercising any right, power
                                                             or privilege hereunder operate as a
        waiver thereof to preclude any other or further exercis
                                                                e thereof or the exercise of any
        other such right, power or privilege.


        11.     Severability.  Should any provision of this Agreement be held
                                                                                     by a court of
        competent jurisdiction to be enforceable only if
                                                             modified, or if any portion of this
        Agreement shall be held as unenforceable and thus
                                                             stricken, such holding shall not affect
        the validity of the remainder of this Agreement, the
                                                             balance of which shall continue to be
        binding upon the Parties with any such modification
                                                               to become a part hereof and treated
        as though originally set forth in this Agreement.


               The Parties further agree that any such court is expres
                                                                        sly authorized to modify any
        such unenforceable provision of this Agreement
                                                          in lieu of severing such unenforceable
       provision from this Agreement in its entirety,
                                                            whether by rewriting the offending
       provision, deleting any or all of the offending provis
                                                                ion, adding additional language to
       this Agreement or by making such other modification
                                                               s as it deems warranted to carry out
       the intent and agreement of the Parties as embod
                                                              ied herein to the maximum extent
       permitted by law.


               The Parties expressly agree that this Agreement's
                                                                      so modified by the court shall
       be binding upon and enforceable against each of
                                                         t i al
                                                          them. In any event, should one or more

                                                      e n
       of the provisions of this Agreement be held to be invalid
                                                                   , illegal or unenforceable in any

                                                 n fid
       respect, such invalidity, illegality or unenforceability
                                                                shall not affect any other provisions

                                                o on
       hereof, and if such provision or provisions are not
      Agreement shall be construed as j^^chCii^^^
                                                                 modified as provided above, this


                                          t l y Din illegal or unenforceable provisions had
      not been set forth herein.

                                    t r ic Bill
                           CaptionsS and headin
      12.    Captions.           m               gs of the sections and paragraphs of this
      Agreement are intended solely for convenience and
                                                           no provision of this Agreement is to
      be construed by reference to the caption or headin
                                                        g of any section or paragraph.

      13.     Counterparts. This Agreement may be executed
                                                                in counterparts, each of which
      shall be deemed an original, but all of which taken
                                                          together shall constitute one and the
      same instrument.


      14.     Tolling. Should the Employee violate any of the
                                                              terms of the restrictive covenant
      obligations articulated herein, the obligation at issue
                                                              will run from the first date on which
      the Employee ceases to be in violation of such obliga
                                                            tion.

      15.     Attorneys' Fees. Should the Employee breach any of the terms of
                                                                                  the restrictive
     covenant obligations articulated herein, to the
                                                        extent authorized by state law, the
     Employee will be responsible for payment of all reason
                                                             able attorneys' fees and costs that
     Employer incurred in the course of enforcing the
                                                          terms of the Agreement, including
     demonstrating the existence of a breach and any other
                                                           contract enforcement efforts.




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       16.    Notice. If and when Employer's employment with Employer Group terminates,
       whether voluntarily or involuntarily, Employee agrees to provide to any subsequent
       employer a copy of this Agreement. In addition, Employee authorizes Employer Group
       to provide a copy of this Agreement to third parties, including but not limited to,
       Employee's subsequent, anticipated or possible future employer.




                                 [SIGNATURE PAGE FOLLOWS]




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       IN WITNESS WHEREOF, the Parties have executed this Agreement as of the
       Effective Date above.
                                                CRUBIN, INC.,
                                                a Florida Corporation



                                                By:
                                                Name: Cole Rubin
                                                Title: President, Crubin, Inc.


       EMPLOYEE


       Signature:          %     —=-     —*

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                                     EMPLOYEE AGREEMENT



            This Employee Agreement ("Agreement") is entered into by and between
     CRUBIN LLC, a Florida limited liability company (the "Employer") on behalf of itself,
     its subsidiaries and other corporate and company affiliates (collectively referred to herein
     as, the "Employer Group"), and Jesus "Alex" Escoriaza (the "Employee") (the
     Employer and the Employee are collectively referred to herein as the "Parties") as of
     January 1, 2017 (the "Effective Date").



            In consideration of the Employee's employment by the Employer and offering
     other benefits associated with such position as of January 1, 2017, which the Employee
     acknowledges to be good and valuable consideration for his obligations hereunder, the
     Employer and the Employee hereby agree as follows:


     1.     Confidential Information,         The Employee understands and acknowledges that
     during the course of employment by the Employer, he will have access to and learn about
     Confidential Information, as defined below.


            (a)       Confidential Information Defined

                      For purposes of this Agreement, "Confidential Information" includes,
     but is not limited to, all information not generally known to the public, in spoken, printed,
     electronic or any other form or medium, relating directly or indirectly to: business
     processes,    practices,   methods,    policies,    plans,   publications,   documents,   research,
     operations, services, strategies, techniques, agreements, contracts, terms of agreements,
     transactions, potential transactions, negotiations, pending negotiations, know-how, trade
     secrets, computer programs, computer software, applications, operating systems, software
     design, web design, databases, manuals, records, systems, supplier information, vendor
     information, financial information, results, accounting information, accounting records,
     legal information, marketing information, advertising information, pricing information,
     credit information, design information, staffing information, personnel information,
     employee lists, supplier lists, vendor lists, developments, reports, internal controls,
     security     procedures,   market     studies,     sales   information,   revenue,   costs,   notes,
     communications, algorithms, product plans, designs, styles, models, ideas, audiovisual
     programs, inventions, unpublished patent applications, customer information, customer
     lists, client information, client lists, distributor lists, and buyer lists of the Employer
     Group or its businesses or any existing or prospective customer, supplier, investor or
     other associated third party, or of any other person or entity that has entrusted information
     to the Employer in confidence.

                      The Employee understands that the above list is not exhaustive, and that
     Confidential Information also includes other information that is marked or otherwise
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     identified as confidential or proprietary, or that would otherwise appear to a reasonable
     person to be confidential or proprietary in the context and circumstances in which the
     information is known or used.

                       The Employee understands and agrees that Confidential Information
     includes information developed by him in the course of his employment by the Employer
     as if the Employer furnished the same Confidential Information to the Employee in the
     first instance. Confidential Information shall not include information that is generally
     available to and known by the public at the time of disclosure to the Employee, provided
     that such disclosure is through no direct or indirect fault of the Employee or person(s)
     acting on the Employee's behalf.


             (b)       Employer Creation and Use of Confidential Information

                    The Employee understands and acknowledges that the Employer Group
     has invested, and continues to invest, substantial time, money and specialized knowledge
     into developing its resources, creating a customer base, generating customer and potential
     customer lists, training its employees, and improving its offerings in the field of ticket
     brokerage and sport entertainment services.         The Employee understands and
     acknowledges that as a result of these efforts, Employer Group has created, and continues
     to use and create Confidential Information. This Confidential Information provides
     Employer Group with a competitive advantage over others in the marketplace.


             (c)       Disclosure and Use Restrictions

                   The Employee agrees and covenants: (i) to treat all Confidential
     Information as strictly confidential; (ii) not to directly or indirectly disclose, publish,
     communicate or make available Confidential Information, or allow it to be disclosed,
     published, communicated or made available, in whole or part, to any entity or person
     whatsoever (including other employees of the Employer Group) not having a need to
     know and authority to know and use the Confidential Information in connection with the
     business of the Employer Group and, in any event, not to anyone outside of the direct
     employ of the Employer Group except as required in the performance of the Employee's
     authorized employment duties to the Employer or with the prior consent of the President,
     acting on behalf of the Employer Group in each instance (and then, such disclosure shall
     be made only within the limits and to the extent of such duties or consent); and (iii) not to
     access or use any Confidential Information, and not to copy any documents, records,
     files, media or other resources containing any Confidential Information, or remove any
     such documents, records, files, media or other resources from the premises or control of
     the Employer Group, except as required in the performance of the Employee's authorized
     employment duties to the Employer or with the prior consent of President acting on
     behalf of the Employer Group in each instance (and then, such disclosure shall be made
     only within the limits and to the extent of such duties or consent). Nothing herein shall
     be construed to prevent disclosure of Confidential Information as may be required by
     applicable law or regulation, or pursuant to the valid order of a court of competent




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     jurisdiction or an authorized government agency, provided that the disclosure does not
     exceed the extent of disclosure required by such law, regulation or order. The Employee
     shall promptly provide written notice of any such order to the President.

                  The Employee understands and acknowledges that his obligations under
     this Agreement with regard to any particular Confidential Information shall commence
     immediately upon the Employee first having access to such Confidential Information
     (whether before or after he begins employment by the Employer) and shall continue
     during and after his employment by the Employer until such time as such Confidential
     Information has become public knowledge other than as a result of the Employee's
     breach of this Agreement or breach by those acting in concert with the Employee or on
     the Employee's behalf.


     2.     Restrictive Covenants.


            (a)     Acknowledgment

                    The Employee understands that the nature of Employee's position gives
     him access to and knowledge of Confidential Information and places him in a position of
     trust and confidence with the Employer Group.        The Employee understands and
     acknowledges that the intellectual services he provides to the Employer Group are
     unique, special or extraordinary because of his strong financial background, technical
     expertise, general knowledge of sporting events, and relationships with potential clients
     and vendors related to Employer's business.

                    The Employee further understands and acknowledges that the Employer
     Group's ability to reserve these for the exclusive knowledge and use of the Employer
     Group is of great competitive importance and commercial value to the Employer Group,
     and that improper use or disclosure by the Employee is likely to result in unfair or
     unlawful competitive activity.


            (b)     Non-competition

                    Because of Employer Group's legitimate business interest as described
     herein and the good and valuable consideration offered to the Employee, during the term
     of Employee's employment and for the twenty-four (24) months, to run consecutively,
     beginning on the last day of the Employee's employment with the Employer, for any
     reason or no reason and whether employment is terminated at the option of the Employee
     or the Employer Group, the Employee agrees and covenants not to engage in Prohibited
     Activity in any geographic area in which the Employer Group distributes its products or
     provides its services.

                     For purposes of this non-compete clause, "Prohibited Activity" is activity
     in which the Employee contributes his knowledge, directly or indirectly, in whole or in
     part, as an employee, employer, owner, operator, manager, advisor, consultant, agent,
     partner, director, stockholder, officer, volunteer, intern or any other similar capacity to an




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     entity engaged in the same or similar business as the Employer Group, including those
     engaged in the business of ticket brokerage and sport entertainment services (a
     "Competing Business").      Prohibited Activity also includes activity that may require or
     inevitably require disclosure of trade secrets, proprietary information or Confidential
     Information.

                    Nothing herein shall prohibit Employee from purchasing or owning less
     than five percent (5%) of the publicly traded securities of any corporation, provided that
     such ownership represents      a passive investment and that the            Employee    is not a

     controlling person of, or a member of a group that controls, such corporation.

                    This Section does not, in any way, restrict or impede the Employee from
     exercising protected rights to the extent that such rights cannot be waived by agreement
     or from complying with any applicable law or regulation or a valid order of a court of
     competent jurisdiction    or   an   authorized       government   agency,   provided   that   such
     compliance does not exceed that required by the law, regulation or order. The Employee
     shall promptly provide written notice of any such order to the President.


            (c)     Non-solicitation of Employees

                      The Employee agrees and covenants not to directly or indirectly solicit,
     hire, recruit, attempt to hire or recruit, or induce the termination of employment of any
     employee of the Employer Group during twenty-four (24) months, to run consecutively,
     beginning on the last day of the Employee's employment with the Employer.


            (d)     Non-solicitation of Customers

                    The Employee understands      and acknowledges that because of the
     Employee's experience with and relationship to the Employer Group, he will have access
     to and learn about much or all of the Employer Group's customer information.
     "Customer Information" includes, but is not limited to, names, phone numbers,
     addresses, e-mail addresses, order history, order preferences, chain of command, pricing
     information and other information identifying facts and circumstances specific to the
     customer and relevant to sales and services.

                    The Employee understands and acknowledges that loss of this customer
     relationship and/or goodwill will cause significant and irreparable harm.

                   The Employee agrees and covenants, during twenty-four (24) months, to
     run consecutively, beginning on the last day of the Employee's employment with the
     Employer, not to directly or indirectly solicit, contact (including but not limited to e-mail,
     regular mail, express mail, telephone, fax, and instant message), attempt to contact or
     meet with the Employer's current, former or prospective customers for purposes of
     offering or accepting goods or services similar to or competitive with those offered by the
     Employer.




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     3.     Non-disparagement.     The Employee agrees and covenants that he will not at any
                                                                                         any
     time make, publish or communicate to any person or entity or in any public forum
     defamatory or disparaging remarks, comments or statements concerning the Employer
                                                                                             e
     Group or its businesses, or any of its employees, officers, and existing and prospectiv
     customers, suppliers, investors and other associated third parties.


             This Section does not, in any way, restrict or impede the Employee from
     exercising protected rights to the extent that such rights cannot be waived by agreement
                                                                                         of
     or from complying with any applicable law or regulation or a valid order of a court
     competent jurisdiction    or   an   authorized   government   agency,   provided   that   such

     compliance does not exceed that required by the law, regulation or order. The Employee
     shall promptly provide written notice of any such order to the President.


     4.     Acknowledgement. The Employee acknowledges and agrees that the services to
                                                                                        the
     be rendered by him to the Employer are of a special and unique character; that
     Employee will obtain knowledge and skill relevant to the Employer's industry, methods
     of doing business and marketing strategies by virtue of the Employee's employment; and
     that the restrictive covenants and other terms and condition of this Agreement are
     reasonable and reasonably necessary to protect the legitimate business interest of the
     Employer Group.


             The Employee further acknowledges that the amount of his compensation reflects,
     in part, his obligations and the Employer's rights under this Agreement; that he has no
     expectation of any additional compensation, royalties or other payment of any kind not
     otherwise referenced herein in connection herewith; that he will not be subject to undue
     hardship by reason of his full compliance with the terms and conditions of this
     Agreement or the Employer's enforcement thereof; and that this Agreement is not a
     contract of employment and shall not be construed as a commitment by either of the
     Parties to continue an employment relationship for any certain period of time.


           Nothing in this Agreement shall be construed to in any way terminate, supersede,
     undermine or otherwise modify the "at-will" status of the employment relationship
     between the Employer and the Employee, pursuant to which either the Employer or the
     Employee may terminate the employment relationship at any time, with or without cause,
     with or without notice.


     5.     Remedies. In the event of a breach or threatened breach by the Employee of any
     of the provisions of this Agreement, the Employee hereby consents and agrees that the
     Employer shall be entitled to seek, in addition to other available remedies, a temporary or
     permanent injunction or other equitable relief against such breach or threatened breach
     from any court of competent jurisdiction, without the necessity of showing any actual
     damages or that money damages would not afford an adequate remedy, and without the
     necessity of posting any bond or other security. The aforementioned equitable relief shall




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     be in addition to, not in lieu of, legal remedies, monetary damages or other available
     forms of relief.

     6.      Successors and Assigns.


             (a)        Assignment by the Employer

                        To the extent permitted by state law, the Employer may assign this
     Agreement to any subsidiary or corporate affiliate in the Employer Group or otherwise,
     or to any successor or assign (whether direct or indirect, by purchase, merger,
     consolidation or otherwise) to all or substantially all of the business or assets of the
     Employer.    This Agreement shall inure to the benefit of the Employer Group and
     permitted successors and assigns.


             (b)        No Assignment by the Employee

                   The Employee may not assign this Agreement or any part hereof. Any
     purported assignment by the Employee shall be null and void from the initial date of
     purported assignment.


     7.      Work Product. Employee acknowledges that all work product created by
     Employee related to the Employer's business or contemplated business, including but not
     limited to, any original works of authorship, inventions, discoveries, proposals and ideas,
     whether alone or jointly with others, shall be deemed a "work made for hire" as defined
     by the United States Copyright Act and are protected in accordance therewith. To the
     extent that such work is not, by operation of law, a work made for hire, Employee herby
     transfers and assigns to Employer all his/her right, title and interest therein.

     8.      Warranty.     Employee represents and warrants that he is not a party to any non
     compete restrictive covenant or related contractual limitation that would interfere with or
     hinder his ability to undertake the obligations and expectations of employment with the
     Employer.


     9.      Governing Law: Jurisdiction and Venue. This Agreement, for all purposes, shall
     be construed in accordance with the laws of Florida without regard to conflicts-of-law
     principles. Any action or proceeding by either of the Parties to enforce this Agreement
     shall be brought only in any state or federal court located in the state of Florida, county of
     Palm Beach. The Parties hereby irrevocably submit to the exclusive jurisdiction of such
     courts and waive the defense of inconvenient forum to the maintenance of any such
     action or proceeding in such venue.


     10.     Entire Agreement. Unless specifically provided herein, this Agreement contains
     all the understandings and representations between the Employee and the Employer
     Group pertaining to the subject matter hereof and supersedes all prior and




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     contemporaneous     understandings,     agreements,   representations   and   warranties,   both
     written and oral, with respect to such subject matter.


     11.    Modification and Waiver.       No provision of this Agreement may be amended or
     modified unless such amendment or modification is agreed to in writing and signed by
     the Employee and by the President. No waiver by either of the Parties of any breach by
     the other party hereto of any condition or provision of this Agreement to be performed by
     the other party hereto shall be deemed a waiver of any similar or dissimilar provision or
     condition at the same or any prior or subsequent time, nor shall the failure of or delay by
     either of the Parties in exercising any right, power or privilege hereunder operate as a
     waiver thereof to preclude any other or further exercise thereof or the exercise of any
     other such right, power or privilege.


     12.    Severability.  Should any provision of this Agreement be held by a court of
     competent jurisdiction to be enforceable only if modified, or if any portion of this
     Agreement shall be held as unenforceable and thus stricken, such holding shall not affect
     the validity of the remainder of this Agreement, the balance of which shall continue to be
     binding upon the Parties with any such modification to become a part hereof and treated
     as though originally set forth in this Agreement.


             The Parties further agree that any such court is expressly authorized to modify any
     such unenforceable provision of this Agreement in lieu of severing such unenforceable
     provision from this Agreement in its entirety, whether by rewriting the offending
     provision, deleting any or all of the offending provision, adding additional language to
     this Agreement or by making such other modifications as it deems warranted to carry out
     the intent and agreement of the Parties as embodied herein to the maximum extent
     permitted by law.


             The Parties expressly agree that this Agreement as so modified by the court shall
     be binding upon and enforceable against each of them. In any event, should one or more
     of the provisions of this Agreement be held to be invalid, illegal or unenforceable in any
     respect, such invalidity, illegality or unenforceability shall not affect any other provisions
     hereof, and if such provision or provisions are not modified as provided above, this
     Agreement shall be construed as if such invalid, illegal or unenforceable provisions had
     not been set forth herein.


     13.     Captions.  Captions and headings of the sections and paragraphs of this
     Agreement are intended solely for convenience and no provision of this Agreement is to
     be construed by reference to the caption or heading of any section or paragraph.

     14.     Counterparts. This Agreement may be executed in counterparts, each of which
     shall be deemed an original, but all of which taken together shall constitute one and the
     same instrument.




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     15.     Tolling. Should the Employee violate any of the terms of the restrictive covenant
     obligations articulated herein, Employee hereby agrees that the applicable period of
     restriction shall be extended by one day for each day the Employee is found to have been
     in violation of such restriction up to, but not to exceed, the length of time that is equal in
     length to the period of restriction that would have applied absent the violation.


     16.    Attorneys' Fees.    Should the Employee breach any of the terms of the restrictive
     covenant obligations articulated herein, to the extent authorized by state law, the
     Employee will be responsible for payment of all reasonable attorneys' fees and costs that
     Employer incurred in the course of enforcing the terms of the Agreement, including
     demonstrating the existence of a breach and any other contract enforcement efforts.


     17.    Notice. If and when Employer's employment with Employer Group terminates,
     whether voluntarily or involuntarily, Employee agrees to provide to any subsequent
     employer a copy of this Agreement. In addition, Employee authorizes Employer Group
     to provide a copy of this Agreement to third parties, including but not limited to,
     Employee's subsequent, anticipated or possible future employer.




                                 [SIGNATURE PAGE FOLLOWS]




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     IN WITNESS WHEREOF, the Parties have executed this Agreement as of the
     Effective Date above.
                                          CRUBIN, LLC,
                                          a Florida Limited Liability Company




                                          By-
                                         Name: COLE R0BIN
                                          Title: Manager


     EMPLOYEE


     Signature:          fL
                  Jesus Al^c" Escon.




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       EMPLOYEE NON-DISCLOSURE AND INVENTION ASSIGNMENT AGREEMENT

          This Employee Non-Disclosure and Invention Assignment Agreement (this “Agreement”)
  is entered into by and between CRUBIN LLC, a Florida limited liability company (the
  “Employer”) on behalf of itself, its subsidiaries and other corporate and company affiliates
  (collectively referred to herein as, the “Company”), and Jesus “Alex” Escoriaza (the
  “Employee”) (the Employer and the Employee are collectively referred to herein as the
  “Parties”) on May 14, 2018.

          I am making this Agreement in consideration of my continued employment by the
  Employer and offering other benefits associated with such position as of October 8, 2012 which I
  acknowledge to be good and valuable consideration for my obligations hereunder. This Agreement
  applies to the entire period of my employment and, solely with respect to the subject matter hereof,
  supersedes, amends and restates all existing and prior employment, covenants and invention
  assignment agreements in effect between myself and the Company, including, without limitation,
  my existing employment agreement with the Company, dated as of January 1, 2017 (the “Existing
  Employment Agreement”), except that any assignments previously made to pursuant to any such
  agreement shall remain in full force and effect, and to the extent of any inconsistency between this
  Agreement and any such other agreement, the interpretation that affords the Company the greatest
  rights shall prevail and control. For the avoidance of doubt, except as modified by the terms of
  this Agreement, the Existing Employment Agreement shall otherwise remain in full force and
  effect.

  1.      Representations and Warranties

          1.1     No Conflict with any Other Agreement or Obligation. I represent and warrant
  that I am not bound by any agreement or arrangement with or duty to any other person that would
  conflict with this Agreement. Except for any obligation described on Exhibit A attached to this
  Agreement, I do not have any non-disclosure, confidentiality, non-competition or other similar
  obligations to any other person concerning proprietary, secret or confidential information that I
  learned of during any previous engagement, employment or association nor have I had any
  obligation to assign contributions or inventions of any kind to any other person. I shall not disclose
  to the Company or induce the Company to use any proprietary, trade secret or confidential
  information or material belonging to others.

          1.2     No Infringement of Third Party Intellectual Property Rights. I represent and
  warrant that the Inventions (as defined in Section 3 below) will not infringe any patent, copyright,
  trade secret or other proprietary right of any third party.

         1.3    No Open Source. I represent and warrant that the Inventions will not include any
  open source software, except with the prior written consent of the Company.

  2.      Confidential Information

          2.1    Definition of Confidential Information. “Confidential Information” means all of
  the trade secrets, know-how, ideas, business plans, pricing information, the identity of and any



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  information concerning customers or suppliers, computer programs (whether in source code or
  object code), procedures, processes, strategies, methods, systems, designs, discoveries, inventions,
  production methods and sources, marketing and sales information, information received from
  others that the Company is obligated to treat as confidential or proprietary, information relating to
  the Company’s corporate finance and liquidity transactions, and any other technical, operating,
  financial and other business information relating to the Company, its business, potential business,
  operations or finances, or the business of the Company’s affiliates or customers, of which I may
  have acquired or developed knowledge or of which I may in the future acquire or develop
  knowledge of during my work for the Company, or from my colleagues while working for the
  Company. Confidential Information also includes Customer Information, which means all non-
  public personal information that I have previously or may in the future develop or acquire knowledge
  of during my work for the Company, or from my colleagues while working for the Company.
  Customer Information shall further include, but is not limited to, names, phone numbers, addresses,
  e-mail addresses, order history, order preferences, chain of command, pricing information and other
  information identifying facts and circumstances specific to the customer and relevant to sales and
  services.

         2.2      Protection of Confidential Information. I will use the Confidential Information
  only in the performance of my duties for the Company. I will not disclose the Confidential
  Information, directly or indirectly, at any time during or after my employment by the Company
  except to persons authorized by the Company to receive this information. I will not use the
  Confidential Information, directly or indirectly, at any time during or after my employment by the
  Company, for my personal benefit, for the benefit of any other person or entity, or in any manner
  adverse to the interests of the Company. I will take all action reasonably necessary to protect the
  Confidential Information from being disclosed to anyone other than persons authorized by the
  Company.

          2.3    Return of Confidential Information. When my employment by the Company
  terminates, I will immediately return or destroy all materials (including without limitation, written
  or printed documents, email and computer disks or tapes, whether machine or user readable,
  computer memory, and other information reduced to any recorded format or medium) containing,
  summarizing, abstracting or in any way relating to the Confidential Information. At the time I
  return these materials I will acknowledge to the Company, in writing and under oath, in the form
  attached as Exhibit 2.3, that I have complied with the terms of this agreement.

           2.4     Defend Trade Secrets Act. I understand and acknowledge that in accordance with
  the Defend Trade Secrets Act of 2016 that I will not be held criminally or civilly liable under any
  federal or state law protecting trade secrets for the disclosure of trade secret information that is
  made: (1) in confidence to a federal, state or local government official, either directly or indirectly,
  or to an attorney, and solely for the purpose of reporting or investigating a suspected violation of
  law, or (2) in a complaint or other document that is filed under seal in a lawsuit or other proceeding.
  I further understand and acknowledge that if I file a lawsuit for retaliation against the Company
  related to my reporting a suspected violation of law, I may disclose the Company’s trade secrets
  to my attorney and use such trade secret information in the related court proceeding, so long as I:
  (1) file any document containing the Company’s trade secrets under seal, and (2) do not disclose
  the Company’s trade secrets, except pursuant to court order.



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  3.     Inventions

         3.1     Definition of Inventions. The term “Inventions” means:

           (a)      contributions and inventions, discoveries, creations, developments, improvements,
  works of authorship and ideas (whether or not they are patentable or copyrightable) of any kind
  that are conceived, created, developed or reduced to practice by me, alone or with others, while I
  am employed by the Company that are either: (i) conceived during regular working hours or at
  my place of work, whether located at Company, affiliate or customer facilities, or at my own
  facilities; or (ii) regardless of whether they are conceived or made during regular working hours
  or at my place of work, are directly or indirectly related to the Company’s business or potential
  business, result from tasks assigned to me by the Company, or are conceived or made with the use
  of the Company’s resources, facilities or materials; and

         (b)  any and all patents, patent applications, copyrights, trade secrets, trademarks,
  domain names and other intellectual property rights, worldwide, with respect to any of the
  foregoing.

          (c)    The term “Inventions” specifically excludes any inventions I developed entirely on
  my own time without using any Company equipment, supplies, facilities or trade secret
  information, unless (i) the invention related at the time of conception or reduction to practice of
  the invention to (A) the Company’s business, or (B) the Company’s actual or demonstrably
  anticipated research or development, or (ii) the invention results from any work performed by me
  for the Company.

         3.2     All Inventions are Exclusively the Property of the Company.

       (a)     I will promptly disclose all Inventions, in full detail, to persons authorized by the
  Company. I will not disclose any Invention to anyone other than persons authorized by the
  Company, without the Company’s express prior written instruction to do so.

           (b)     All Inventions will be deemed “work made for hire” as that term is used in the U.S.
  Copyright Act, and belong solely to the Company from conception. I hereby expressly disclaim
  all interest in all Inventions. To the extent that title to any Invention or any materials comprising
  or including any Invention is found not be a “work made for hire” as a matter of law, I hereby
  irrevocably assign to the Company all of my right, title and interest to that Invention. At any time
  during or after my employment by the Company that the Company requests, I will sign whatever
  written documents of assignment are necessary to formally evidence my irrevocable assignment
  to the Company of any Invention.

         (c)    At all times during or after my employment by the Company I will assist the
  Company in obtaining, maintaining and renewing patent, copyright, trademark and other
  appropriate protection for any Invention, in the United States and in any other country, at the
  Company’s expense.




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          3.3     Excluded Information. On Exhibit B attached to this agreement I have included
  a complete list, with non-confidential descriptions, of any inventions, ideas, reports and other
  creative works that I made or conceived prior to my employment by the Company (collectively,
  the “Excluded Information”). I intend that the items on that list and only the items on that list shall
  be excluded from the restrictions set forth in this agreement. I will not assert any right, title or
  interest in or to any Invention or claim that I made, conceived or acquired any Invention before
  my employment by the Company unless I have specifically identified that Invention on the
  attached Exhibit B. In the event that any Excluded Information is incorporated into any Invention,
  I hereby grant Company a perpetual, worldwide, royalty free, non-exclusive license to use and
  reproduce the Excluded Information for commercial, internal business and all other purposes.

  4.     Miscellaneous

          4.1     Interpretation and Scope of this Agreement. Each provision of this agreement
  shall be interpreted on its own. If any provision is held to be unenforceable as written, it shall be
  enforced to the fullest extent permitted under applicable law. In the event that one or more of the
  provisions contained in this agreement shall for any reason be held unenforceable in any respect
  under the law of any state of the United States or the United States, then it shall (a) be enforced to
  the fullest extent permitted under applicable law, and (b) such unenforceability shall not affect any
  other provision of this agreement, but this agreement shall then be construed as if such
  unenforceable portion(s) had never been contained herein.

          4.2     Remedies. I understand and agree that if I breach or threaten to breach any of the
  provisions of this agreement the Company would suffer immediate and irreparable harm and that
  monetary damages would be an inadequate remedy. I agree that, in the event of my breach or
  threatened breach of any of the provisions of this agreement, the Company shall have the right to
  seek relief from a court to restrain me (on a temporary, preliminary and permanent basis) from
  using or disclosing Company Confidential Information or Inventions or otherwise violating the
  provisions of this agreement, and that any such restraint shall be in addition to (and not instead of)
  any and all other remedies to which the Company shall be entitled, including money damages.
  The Company shall not be required to post a bond to secure against an imprudently granted
  injunction (again, whether temporary, preliminary or permanent).

          4.3      Governing Law; Jury Waiver; Consent to Jurisdiction. This agreement
  (together with any and all modifications, extensions and amendments of it) and any and all matters
  arising directly or indirectly herefrom shall be governed by and construed and enforced in
  accordance with the internal laws of the State of Florida applicable to agreements made and to be
  performed entirely in such state, without giving effect to the conflict or choice of law principles
  thereof. For all matters arising directly or indirectly from this Agreement (“Agreement Matters”),
  I hereby (i) irrevocably consent and submit to the sole exclusive jurisdiction of the state and federal
  courts located in the State of Florida, Palm Beach County (and of the appropriate appellate courts
  from any of the foregoing) in connection with any legal action, lawsuit, arbitration, mediation, or
  other legal or quasi legal proceeding (“Proceeding”) directly or indirectly arising out of or relating
  to any Agreement Matter; provided that a party to this Agreement shall be entitled to enforce an
  order or judgment of any such court in any United States or foreign court having jurisdiction over
  the other party, (ii) irrevocably waive, to the fullest extent permitted by law, any objection that I



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  may now or later have to the laying of the venue of any such Proceeding in any such court or that
  any such Proceeding which is brought in any such court has been brought in an inconvenient
  forum, (iii) irrevocably waive, to the fullest extent permitted by law, any immunity from
  jurisdiction of any such court or from any legal process therein, (iv) irrevocably waive, to the
  fullest extent permitted by law, any right to a trial by jury in connection with a Proceeding, (v)
  covenant that I will not, directly or indirectly, commence any Proceeding other than in such courts,
  and (vi) agree that service of any summons, complaint, notice or other process relating to such
  Proceeding may be effected in the manner provided for the giving of notice as set forth in this
  agreement.

          4.4    Entire Agreement; Amendments and Waivers. This agreement (including
  Exhibits A and B attached hereto) represents the entire understanding and agreement among the
  parties hereto with respect to the subject matter hereof and can be amended, supplemented, or
  changed and any provision hereof can be waived, only by written instrument signed by the party
  against whom enforcement of any such amendment, supplement, change or waiver is sought.

          4.5    Captions. The captions and section headings in this agreement are included solely
  for convenience of reference and are not intended to affect the interpretation of any provision of
  this agreement.

          4.6    Counterparts; Binding Effect. This agreement may be executed in counterparts,
  each of which shall be deemed an original agreement, but all of which together shall constitute one
  and the same agreement. Except as otherwise expressly provided herein, this agreement shall be
  binding upon and inure to the benefit of the parties hereto and their respective successors and
  permitted assigns.

          4.7     Notices. All notices and other communications given or made pursuant to this
  agreement shall be in writing and shall be deemed effectively given: (a) upon personal delivery
  to the party to be notified, (b) when sent by confirmed electronic mail or facsimile if sent during
  normal business hours of the recipient, and if not so confirmed, then on the next business day, (c)
  five (5) days after having been sent by registered or certified mail, return receipt requested, postage
  prepaid, or (d) one (1) day after deposit with a nationally recognized overnight courier, specifying
  next day delivery, with written verification of receipt. All communications to me shall be sent to
  the respective parties at their address as set forth on the signature page of this agreement, or in the
  Company’s records, or to such e-mail address, facsimile number or address as subsequently
  modified by written notice given in accordance with this Section and all notices to the Company
  shall be provided to the Company’s headquarters, attention Chief Executive Officer.


          [Remainder of page intentionally left blank; signature page follows]




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   By signing this agreement below, (1) I agree to be bound by each of its terms, (2) I
   acknowledge that I have read and understand this agreement and the important restrictions
   it imposes upon me, and (3) I represent and warrant to the Company that I have had ample
   and reasonable opportunity to consult with legal counsel of my own choosing to review this
   agreement and understand its terms including that it places significant restrictions on me.



                                                     EMPLO               7
   WITNESS:


   Bv:<—                                            By:


   Name:                                            Name: /fesus         Escoriaza




   Accepted by Company:
   CRubin LLC        ,/)


   By:      L
   Name:    jpf       JyJ
   Title:
            (o-pyOOii                 I




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                                            EXHIBIT A

  Obligations to Other Persons:
  [Securely attach additional pages if necessary]




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                                            EXHIBIT B


  Excluded Information:
  [Securely attach additional pages if necessary]




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                                         EXHIBIT 2.3
                                    Form of Acknowledgment


         My employment by _______________________ (the “Company”) is now terminated. I
  have reviewed my Non-Disclosure and Invention Assignment Agreement with the Company,
  dated ________________ ___, 20__ (the “Agreement”), and I swear, under oath, that:

    •    I have complied and will continue to comply with all of the provisions of the Agreement.

    •    I understand that all of the Company’s materials (including without limitation, written or
         printed documents, email and computer disks or tapes, whether machine or user readable,
         computer memory, and other information reduced to any recorded format or medium),
         whether or not they contain Confidential Information (as that phrase is defined in the
         Agreement), are and remain the property of the Company. I have delivered to authorized
         Company personnel, or have destroyed, all of those documents and all other Company
         materials in my possession.


                                                      Signature


                                                      Name (please print clearly)




                                                      Address

  STATE OF ______________ )
                          ) ss.:
  COUNTY OF ____________)

              BE IT REMEMBERED, that on this _____ day of ________, _____, before me, the
  subscriber, a notary public of the State of ____________, personally appeared
  _______________________, who being by me duly sworn on his oath, deposed and made proof
  to my satisfaction that (s)he is the person named in the within instrument, to whom I first made
  known the contents thereof, and thereupon (s)he acknowledged that (s)he signed, sealed and
  delivered the same as his/her voluntary act and deed for the uses and purposes therein expressed.

                               ____________________________
         [SEAL]                      Notary Public




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